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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- )(

SHERYL WULTZ, individually, as personal
representative of the Estate of Daniel Wultz,
and as the natural guardian of plaintiff
Abraham Leonard Wultz; YEKUTIEL
WULTZ, individually, as personal
representative of the Estate of Daniel Wultz,
and as the natural guardian of plaintiff
Abraham Leonard Wultz; AMANDA
WULTZ; and ABRAHAM LEONARD                                      OPINION AND ORDER
WULTZ, minor, by his next friends and
guardians Sheryl Wultz and Yekutiel Wultz,                       11 Civ. 1266 (SAS)

                        Plaintiffs,

               - against-

BANK OF CHINA LIMITED,

                       Defendant.

-------------------------------------------------------­   )(


SHIRA A. SCHEINDLIN, U.S.D.J.:

I.     INTRODUCTION

              This suit arises out of the death of Daniel Wultz and the injuries of

Yekutiel Wultz, suffered in a 2006 suicide bombing in Tel Aviv, Israel. Four

members of the Wultz family brought suit against Bank of China ("BOC"),




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alleging acts of international terrorism under the Antiterrorism Act (“ATA”),1

among other claims.

             All of plaintiffs’ non-federal claims against BOC have been

dismissed.2 In addition, plaintiffs’ attempt to hold BOC liable for aiding and

abetting international terrorism under the ATA has been categorically foreclosed

by the Second Circuit.3 The plaintiffs’ only remaining claim against BOC is for

acts of international terrorism under the ATA, based on BOC allegedly having

provided material support and resources to a terrorist organization.4

             The general facts and procedural history of this case and plaintiffs’

numerous attempts to obtain discovery from BOC were laid out in previous

opinions and familiarity with them is assumed.5 Before this Court is plaintiffs’

      1
             See 18 U.S.C. § 2333(a).
      2
             See Wultz v. Bank of China Ltd., No. 11 Civ. 1266, 2013 WL 1641179
(S.D.N.Y. Apr. 16, 2013) (dismissing plaintiffs’ remaining non-federal claim as
time-barred under New York “borrowing statute”).
      3
             See In re Terrorist Attacks on September 11, 2001, 714 F.3d 118, 123
(2d Cir. 2013) (“[A] defendant cannot be liable under the ATA on an
aiding-and-abetting theory of liability.” (citing Rothstein v. UBS AG, 708 F.3d 82,
97 (2d Cir. 2013))).
      4
             See First Amended Complaint ¶¶ 106–115.
      5
            The background of the parties’ disputes is summarized in Wultz v.
Bank of China Ltd., 910 F. Supp. 2d 548, 551-52 (S.D.N.Y. 2012) (“Wultz I”) and
Wultz v. Bank of China Ltd., No. 11 Civ. 1266, 2013 WL 1832186, at *1-4
(S.D.N.Y. May 1, 2013) (“Wultz II”).

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third motion to compel BOC to produce documents located in China in BOC’s

control.6 BOC argues that the documents are protected by the attorney-client

privilege and/or the work-product doctrine. For the reasons stated below,

plaintiffs’ motion is granted in part.

II.     BACKGROUND

             I first addressed plaintiffs’ motion to compel BOC to produce various

documents in its possession, specifically documents located in China pertaining to

anti-money laundering (“AML”) and compliance procedures and investigations in

an order issued on October 29, 2012 (“the October 29 Order”).7 BOC argued that

the requested production of documents would violate China’s bank secrecy laws.

Applying the Second Circuit’s seven-factor comity test,8 I granted plaintiffs’

motion in part and ordered BOC to produce relevant documents except

“confidential regulatory documents created by the Chinese government whose

production is clearly prohibited under Chinese law.”9


       6
           The first two motions were addressed in Wultz I, 910 F. Supp. 2d at
551-52 and Wultz II, 2013 WL 1832186, at *1-4.
        7
             Wultz I, 910 F. Supp. 2d at 551-52.
       8
            See Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429, 438-39
(E.D.N.Y. 2008) (citing Minpeco S.A. v. Conticommodity Servs., Inc., 116 F.R.D.
517, 523 (S.D.N.Y. 1987)).
        9
             Wultz I, 910 F. Supp. 2d at 556.

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             Rather than comply with the October 29 Order, BOC continued to

object to its discovery obligations and raised alternative provisions of Chinese law

– those relating to combating money laundering and other illegal financial

transactions – which allegedly prevented the disclosure of any document whose

production was ordered.10

             In an opinion issued on May 1, 2013 (“the May 1 Order”), I granted

plaintiffs’ second motion to compel in part, again applying the Second Circuit’s

multi-factor comity test. The May 1 Order required BOC to produce documents

pertaining to (1) “communications from the Chinese government to BOC from

prior to January 23, 2008” concerning Said al-Shurafa (“Shurafa”) and related

accounts, (2) “materials concerning AML or [counter-terrorist financing] (“CTF”)

problems or deficiencies at BOC’s Guangdong Branch from January 1, 2003 to

September 2008,” (3) documents “concerning AML or CTF problems or

deficiencies at BOC’s Head Office from January 1, 2003 to September 2008, to the

extent that those problems or deficiencies related to the [Palestinian Islamic Jihad

(“PIJ”)], Hamas or any terrorists allegedly involved with those organizations,” and

(4) documents concerning Shurafa and related accounts, “including visits of


      10
             See 2/28/13 Memorandum of Law on Behalf of Bank of China Ltd. in
Opposition to Plaintiffs’ Motion to Compel Discovery Prohibited Under the Law
of the People’s Republic of China, at 9-12.

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foreign officials related to those same topics.”11

             The May 1 Order to produce was subject to two exceptions. First,

BOC could withhold Suspicious Transaction Reports or Large-Value Transaction

Reports, provided they were produced to the Court for in camera review.12

Second, BOC could withhold “items subject to the attorney-client or work-product

privileges,” provided that the items were “listed in a document-level privilege log

produced to plaintiffs, providing enough information to determine whether the

documents are in fact privileged.”13

             Following the May 1 Order, BOC “produced a variety of documents”

including “reports to its Chinese regulators concerning Said al-Shurafa,” “minutes

in its possession for meetings between BOC officials and representatives of the

People’s Bank of China,” “policies and procedures related to” AML and CMF, and

“internal audits of its United States branches for AML and CTF compliance during

the relevant time period . . . as well as all reports prepared by outside auditors

Grant Thornton and KPMG.”14 In sum, “BOC has produced more than 200,000


      11
             Wultz II, 2013 WL 1832186, at *12.
      12
             See id.
      13
             Id.
      14
            9/17/13 Memorandum of Law on Behalf of Bank of China, Ltd. in
Opposition to Plaintiffs’ Motion to Compel Production of Documents Withheld as

                                           5
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pages.”15

             Plaintiffs claim that BOC’s main production, made on May 21, 2013,

“consisted largely of publicly available materials, previously-produced account

records, and other filler.”16 According to plaintiffs, the May 21 production was the

only “substantial production from the files of [BOC’s] Chinese employees” and

consisted of “5,751 documents.”17

             BOC subsequently provided two privilege logs, dated June 7, 2013

(“the June 7 Log”)18 and June 20, 2013, amended on August 6, 2013 (“the August

6 Log”).19 The two logs combined consist of 6,253 entries over which BOC asserts

attorney-client privilege, work-product protection, or both.20 Plaintiffs estimate

that, in total, BOC has withheld 13,953 documents - “a figure more than double the




Privileged (“Def. Opp.”), at 5.
      15
             Id. at 3.
      16
            9/3/13 Plaintiffs’ Memorandum of Law in Support of Plaintiffs’
Motion to Compel Production of Documents Located in China Improperly
Withheld as Privileged (“Pl. Mem.”), at 6.
      17
             Id.
      18
            See Exhibit (“Ex.”) 9 to 09/03/13 Declaration of Olav A. Haazen,
Counsel for Plaintiffs (“Haazen Decl.”).
      19
             See Exs. 7-8 to Haazen Decl.
      20
             See Pl. Mem. at 6-7; Def. Opp. at 8.

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number of documents that BOC has actually produced from China in response to

the May 1 Order.” 21

III.     APPLICABLE LAW

         A.   Choice of Law

              Under Federal Rule of Evidence 501, questions of privilege are

“governed by the principles of common law.”22 “The ‘common law’ applied under

Rule 501 includes ‘choice of law’ questions.”23 “In determining which country’s

law applies to claims of privilege involving foreign documents, courts in the

Second Circuit have adopted the ‘touch base’ approach applied in Golden Trade

[S.r.L. v. Lee Apparel Co.]”24 “Under this analysis, the Court applies ‘the law of



        21
             Pl. Mem. at 7. Of the 6,253 entries on the combined privileged logs,
3,911 are categorized as “Email With Attachments.” Plaintiffs estimate of the total
number of documents is based on a rough calculation that estimates each email as
containing two attachments. Because BOC does not clarify the total number of
withheld documents in its submissions, I adopt plaintiffs’ calculation for the
purposes of this opinion. The large number of withheld documents in comparison
to the number of documents in its main production, is not relevant to
determinations of privilege but is illustrative of BOC’s approach to its discovery
obligations.
        22
            Golden Trade S.r.L. v. Lee Apparel Co., 143 F.R.D. 514, 521
(S.D.N.Y. 1992) (citing Fed. R. Evid. 501).
        23
              Astra Aktiebolag v. Andrx Pharm., Inc., 208 F.R.D. 92, 97 (S.D.N.Y.
2002).
        24
              Gucci America, Inc. v. Guess?, Inc., 271 F.R.D. 58, 64 (2010).

                                          7
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the country that has the predominant or the most direct and compelling interest in

whether [the] communications should remain confidential, unless that foreign law

is contrary to the public policy of this forum.’”25 “The country with the

‘predominant interest’ is either ‘the place where the allegedly privileged

relationship was entered into’ or ‘the place in which that relationship was centered

at the time the communication was sent.’”26 “Thus, American law typically applies

to communications concerning ‘legal proceedings in the United States’ or ‘advice

regarding American law,’ while communications relating to ‘foreign legal

proceeding[s] or foreign law’ are generally governed by foreign privilege law.”27

B.     Chinese Law

             The party objecting to a discovery motion based on foreign law bears

the burden “‘of demonstrating that such law actually bars the production or

testimony at issue.’”28 “‘In order to meet that burden, the party resisting discovery

must provide the Court with information of sufficient particularity and specificity



      25
            Anwar v. Fairfield Greenwich Ltd., No. 09 Civ. 118, 2013 WL
3369084, at *1 (S.D.N.Y. Jul. 8, 2013) (quoting Astra, 208 F.R.D at 98).
      26
             Astra, 208 F.R.D. at 98 (quoting Golden Trade, 143 F.R.D. at 522).
      27
             Anwar, 2013 WL 3369084, at *1 (quoting Gucci, 271 F.R.D. at 65).
      28
            Strauss v. Credit Lyonnais, S.A., 242 F.R.D. 199, 207 (E.D.N.Y.
2007) (quoting Alfadda v. Fenn, 149 F.R.D. 28, 34 (S.D.N.Y. 1993)).

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to allow the Court to determine whether the discovery sought is indeed prohibited

by foreign law.’”29 The party must describe, among other things, “‘the provisions

of the foreign law, the basis for its relevance, and the application of the foreign law

to the facts of the case.’”30

              “‘Foreign law, though formerly treated as an issue of fact, is now

recognized as an issue of law, to be established by any relevant source, including

testimony.’”31 Federal Rule of Civil Procedure (“Rule”) 44.1 establishes that

“[t]he court’s determination [of foreign law] must be treated as a ruling on a

question of law.”

              Chinese courts do not routinely issue opinions: “‘[t]here is no system

of guidance by precedent, judges deciding cases do not issue explanatory published

opinions, and their judgments do not bind co-ordinate or lower courts in other




       29
              Id. (quoting Alfadda, 149 F.R.D. at 34).
       30
           Id. (quoting Rationis Enters. Inc. of Panama v. Hyundai Mipo
Dockyard Co., 426 F.3d 580, 586 (2d Cir. 2005)).
       31
              Wultz v. Bank of China Ltd., 860 F. Supp. 2d 225, 230 (S.D.N.Y.
2012) (quoting United States v. Peterson, 812 F.2d 486, 490 (9th Cir. 1987)).
Accord In re Vitamin C Antitrust Litig., 810 F. Supp. 2d 522, 562 (E.D.N.Y. 2011)
(“A determination of foreign law is, like choice of law analysis, a preliminary
matter to be resolved by the court. Therefore, any disputed facts underlying that
determination must also be resolved by the court.”).

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cases.’”32 As I noted in two prior opinions in this case, “[t]he interpretation of

Chinese law should be informed by attention to the general practices and features

of China’s legal institutions, rather than by relying solely on inferences drawn from

indeterminate legal language.”33

             C.     Attorney-Client Privilege

             “The attorney-client privilege is one of the oldest recognized

privileges for confidential communications.”34 The privilege is designed to

“encourage full and frank communication between attorneys and their clients.”35

The privilege serves the dual purpose of shielding “from discovery advice given by

the attorney as well as communications from the client to the attorney, made in

pursuit of or in facilitation of the provision of legal services.”36 However, because

the attorney-client privilege “stands in derogation of the public’s ‘right to every


      32
             Wultz v. Bank of China Ltd., No. 11 Civ. 1266, 2012 WL 5431013, at
*4 n.43 (S.D.N.Y. Nov. 5, 2012) (quoting Declaration of Professor George W.
Conk, Ex. 1 to 9/21/12 Declaration of Marilyn C. Kunstler, Counsel for Plaintiffs,
¶ 26); Wultz II, 2013 WL 1832186, at *4.
      33
            Wultz II, 2013 WL 1832186, at *4 (footnotes omitted) (quoting and
citing, among other sources, R ANDALL P EERENBOOM, C HINA’S L ONG M ARCH
T OWARD R ULE OF L AW (2002)).
      34
             Swidler Berlin v. United States, 524 U.S. 399, 403 (1998).
      35
             Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).
      36
             Id.

                                          10
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man’s evidence’ . . . ‘[i]t ought to be strictly confined within the narrowest possible

limits consistent with the logic of the principle.’”37

              “It is well settled that ‘[t]he burden of establishing the existence of an

attorney-client privilege, in all of its elements, rests with the party asserting it.’”38

“In order to prevail on an assertion of the attorney-client privilege the party

invoking the privilege” must show that:

              “(1) the asserted holder of the privilege is or sought to become a
              client; (2) the person to whom communication was made (a) is a
              member of the bar of a court, or his subordinate and (b) in
              connection with this communication is acting as a lawyer; (3) the
              communication relates to a fact of which the attorney was
              informed (a) by his client (b) without the presence of strangers (c)
              for the purpose of securing primarily either (i) an opinion on law
              or (ii) legal services or (iii) assistance in some legal proceeding,
              and not (d) for the purpose of committing a crime or tort; and (4)
              the privilege has been (a) claimed and (b) not waived by the
              client.”39




       37
             In re Grand Jury Proceedings, 219 F. 3d 175, 182 (2d Cir. 2000)
(quoting In re Horowitz, 482 F.2d 72, 81 (2d Cir. 1980)).
      38
            Id. (quoting United States v. International Bhd. of Teamsters, 119
F.3d 210, 214 (2d Cir. 1997)) (some quotation marks omitted).
      39
             Colton v. United States, 306 F.2d 633, 637 (2d Cir. 1962) (quoting
United States v. United Shoe Machinery Corp., 189 F. Supp. 357, 358-59 (D.
Mass. 1950). Accord Gucci America, Inc. v. Guess?, Inc., No. 09 Civ. 4373, 2011
WL9375, at *1 (S.D.N.Y. Jan. 3, 2011); SEC v. Beacon Hill Asset Mgmt. LLC, 231
F.R.D. 138 (S.D.N.Y. 2004).

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             D.       Work-Product Doctrine

             Work-product protection is “‘broader than the attorney-client

privilege.’”40 It protects “an attorney’s mental impressions, opinions or legal

theories concerning specific litigation” from discovery.41 Rule 26(b)(3), which

codifies the work-product protection, states in part that if a court orders discovery

of materials prepared in anticipation of litigation by or for another party or its

representative, “it must protect against disclosure of the mental impressions,

conclusions, opinions, or legal theories of a party’s attorney or other representative

concerning the litigation.” Unlike the protection granted to attorney-client

communications, “[t]he privilege derived from the work-product doctrine is not

absolute.”42 Like other qualified privileges, it may be overcome by a showing of

substantial need.43

             The Second Circuit has interpreted the ‘in anticipation of litigation’



      40
            In re Grand Jury Subpoenas Dated March 19, 2002 and August 2,
2002, 318 F.3d 379, 383 (2d Cir. 2003) (quoting United States v. Nobles, 422 U.S.
225, 238 n.11 (1975)).
      41
             Horn & Hardart Co. v. Pillsbury Co., 888 F.2d 8, 12 (2d Cir. 1989).
      42
             Nobles, 422 U.S. at 239.
      43
             See In re Grand Jury Subpoena Dated July 6, 2005, 510 F.3d 180,
184-87 (2d Cir. 2007) (citing Rule 26(b)(3) and Hickman v. Taylor, 329 U.S. 495,
511 (1947)).

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requirement broadly. Documents should therefore be “deemed prepared in

‘anticipation of litigation’ if ‘in light of the nature of the document and the factual

situation in the particular case, the document can fairly be said to have been

prepared or obtained because of the prospect of litigation.’”44

IV.     DISCUSSION

              Plaintiffs request that BOC “be compelled to produce every document

in China that is listed on its logs.”45 Plaintiffs make several arguments in support of

this request. First, because “the documents . . . are located in China and were sent

to and from Chinese personnel at a Chinese state bank, Chinese law,” which does

not recognize the attorney-client privilege or the work-product doctrine, “governs

BOC’s privilege claims” and compels production.46 Second, BOC would be unable

to satisfy its burden even under United States privilege law, because a large

number of the communications are not to or from licensed attorneys.47 Finally,

“BOC’s privilege logs are grossly inadequate on their face and fail to comply with



        44
            United States v. Adlman, 134 F.3d 1194, 1202 (2d Cir. 1998) (quoting
Charles Alan Wright, Arthur R. Miller, and Richard L. Marcus, 8 Federal
Practices & Procedures § 2024, at 343 (1994)).
        45
              Pl. Mem. at 2.
        46
              Id.
        47
              See id. at 3.

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the most rudimentary requirements for a log [or with] the detailed requirements of

Local Civil Rule 26.2.”48

             BOC, in turn, makes several arguments against production. First, the

Court should apply United States privilege law, because applying Chinese

privilege law would be “contrary to public policy and principles of comity” as

“there is no law in China that allows courts to require attorneys to testify against

their clients, and in practice, no court has done so or would do so.”49 Second,

BOC’s privilege claims are supported under United States law even if the

communications do not involve a licensed attorney if the individuals involved in

the communication “serve as the functional equivalents of lawyers.”50 Finally,

BOC’s privilege logs “provide all of the information required by Local Rule

26.2.”51

             1.     Choice of Law Analysis

             “Courts in the Second Circuit have adopted the ‘touch base’ approach

applied in Golden Trade” to determine which country’s privilege should apply to



      48
             Id. at 2.
      49
             Def. Opp. at 2.
      50
             Id.
      51
             Id.

                                          14
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foreign documents.52 The “touch base” analysis typically considers which country

“has the ‘predominant’ or ‘the most direct and compelling interest’ in whether

those communications should remain confidential, unless that foreign law is

contrary to the public policy of this forum.” 53

             In Golden Trade, the court found that communications between an

Italian corporation and its patent agents in Norway, Germany and Israel regarding

patent law in those respective countries did not “touch base” with the United States

because they “related to matters solely involving” foreign countries.54 The court

held that the applicable privilege law should be of those “countries [that] have the

predominant interest in whether those communications should remain

confidential,” which are the nations “where the allegedly privileged relationship

was entered into.”55 By contrast, courts have found that communications relating

to legal proceedings in the United States or communications providing advice on

American law do “touch base” with the United States and should be governed by




      52
             Gucci, 271 F.R.D. at 64.
      53
             Astra, 208 F.R.D. at 98 (citing Golden Trade, 143 F.R.D. at 522).
      54
             Golden Trade, 143 F.R.D. at 520-22.
      55
             Id. at 521.

                                           15
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American privilege law.56

             Plaintiffs argue that the jurisdiction with the “predominant interest” in

this matter is China because “[a]ll of the documents in question are located in

China and BOC’s privilege logs indicate that the individuals involved in the

communications are Chinese BOC employees who work in China, and

communicate almost exclusively with other BOC employees located in China.”57

             BOC argues that applying Chinese privilege law would be unfair and

would force BOC to “produce a wide range of documents in accordance with broad

U.S. discovery requirements while enjoying none of the protections of U.S.

privilege law.”58 Rather, BOC urges that the Court follow the reasoning of Astra

Aktiebolag v. Andrx Pharmaceuticals and reject the application of Chinese law

because of principles of comity and public policy.59

             In Astra, the court held that Korean law would apply to documents

pertaining to four legal proceedings held in Korean courts under the traditional



      56
             See, e.g., Gucci, 271 F.R.D. at 66-70 (holding that American law
applies to documents located in Italy pertaining to United States trademark law and
lawsuit in United States federal court).
      57
             Pl. Mem. at 16-17.
      58
             Def. Opp. at 12.
      59
             See id. at 13.

                                          16
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“touch base” framework.60 Korean law recognizes neither the attorney-client

privilege nor the work-product doctrine.61 However, the Astra court found that

“these documents would not be subject to production, whether through a discovery

process or by court order, in a Korean civil lawsuit. Under Korean law, a court

may only issue an order to compel document production under specific limited

circumstances designated by statute.”62 Because production of the documents in

question could not be compelled in Korea based on the statutes governing civil

discovery in Korea, the court held that compelling their production in the United

States “would violate principles of comity and would offend the public policy of

this forum.”63

             BOC urges the Court to follow Astra’s reasoning and apply United

States privilege law instead of Chinese law. BOC argues that, as in Korea, these

documents would not be subject to production in civil discovery in China because



      60
              See Astra, 208 F.R.D. at 99 (“When a Korean attorney is representing
a foreign client in a Korean proceeding, the Korean attorney will generally
anticipate that the Korean law of privilege will apply to the attorney’s
communications with the client and the work product created for that proceeding.”)
(quotation omitted).
      61
             See id. at 100-01.
      62
             Id. at 101.
      63
             Id. at 102.

                                         17
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“[i]n practice, no Chinese court would order an attorney to divulge such

confidences” and compelling the production in an American court would violate

the principles of comity and public policy mentioned in Astra.64 Plaintiffs respond

that Astra stands for the proposition that “applying Korean privilege law in a

procedure governed by U.S. discovery rules would result in production that neither

Korean civil procedure nor U.S. privilege law would have permitted on its own.”65

Plaintiffs argue that in this case, “Chinese law is vastly different from the law of

Korea” and permits courts “to compel production of attorney-client

communications and require attorneys to testify in court.”66

             BOC’s primary argument against applying Chinese law to these

documents is that “the kind of discovery that has taken place in this case would

never occur in China, where a plaintiff must collect and submit its own




      64
             Def. Opp. at 14.
      65
             Pl. Mem. at 21.
      66
             Id. Accord 9/23/13 Reply Memorandum of Law in Support of
Plaintiffs’ Motion to Compel Production of Documents Located in China
Improperly Withheld as Privileged (“Rep. Mem.”), at 6 (“. . . China has developed
many discovery mechanisms similar to those available in U.S. courts, and Chinese
courts do have the power to order production of attorney-client communications –
a power that is actually exercised by authorities in China.”).

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evidence.”67 However Astra does not stand for the proposition that principles of

comity forbid the application of foreign privilege law of any jurisdiction where

discovery practices are more circumscribed than in the United States. BOC’s

preferred choice of law analysis would always require the application of U.S. law

as there are few, if any, countries in the world where “the kind of discovery that

has taken place in this case” would be permitted.

             The critical inquiry in Astra is not whether the disclosure of attorney-

client communications would happen, but rather whether it could happen. The

court in Astra made clear that the documents at issue could not be produced under

the “specific limited circumstances designated by statute” and the opposing party

had “no independent legal right to the documents under Korean law.” 68

             Here, even BOC’s expert, Randall Peerenboom, admits “[t]here are

general provisions in [Chinese] law that allow judges to compel parties to provide

certain information under certain circumstances.”69 For example, Article 67 of the


       67
             Def. Opp. at 13. See also 10/15/13 Defendant’s Surreply
Memorandum in Opposition to Plaintiffs’ Motion to Compel Production of
Documents Withheld as Privileged, at 2 (“The extensive discovery, motion
practice, and letter-application campaigns that have taken place in this matter
would never happen in a Chinese court.”).
       68
             Astra, 208 F.R.D. at 101.
       69
             09/17/13 Declaration of Randall Peerenboom (“Peerenboom Decl.”) ¶
6.

                                          19
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Civil Procedure Law of the People’s Republic of China (“PRC”) states: “The

people’s court shall have the right to investigate and take evidence from the

relevant work units or individuals, and such work units or individuals should not

refuse to cooperate.”70 In addition, Article 72 states: “All work units and

individuals that have knowledge of the circumstances of a case ought to give

testimony in court.”71 While Mr. Peerenboom asserts that, “PRC courts would not

compel lawyers to disclose confidential information . . . in a civil case,”72 nothing

in Chinese law prevents the disclosure of these documents in the same way that

Korean law prevented the disclosure of the documents in question in Astra.

Indeed, according to an article on BOC’s Chinese counsel’s website “[t]he said

provisions of the Civil Procedure Law create the basis for lawyers to be compelled

to testify on a client’s confidential information, and these laws prevail over any

ethical duty of a lawyer to protect a client’s information under attorney-client

privilege. . . . [A]ttorneys and their clients are not exempt from disclosing

information that would otherwise be protected by attorney-client privilege outside




      70
             Id. ¶ 16.
      71
             Id.
      72
           10/9/13 Supplemental Declaration of Randall Peerenboom
(“Peerenboom Sup. Decl.”) ¶ 3.

                                          20
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[China].”73 Because attorney-client and work-product communications and

documents could be subject to discovery under Chinese law, applying Chinese

privilege law does not “violate principles of comity” or “offend the public policy

of this forum.”74

             BOC also argues that “the bulk of documents BOC withheld that were

dated after January 28, 2008 [the date of plaintiffs’ demand letter] concerned

litigation in an American court related to claims under American law” and should



      73
               Gui Hongxia and Li Xiang, Attorney-client privilege: Is this Privilege
Extended to Foreign Lawyers in China?, Ex. 1 to Haazen Decl., at 1-2. Mr.
Hongxia submitted a declaration in support of BOC’s motion in opposition to
clarify that the “key point of the [a]rticle was that an attorney may not refuse to
testify before a Chinese court on the basis that the information sought concerns
confidential communication with his or her client,” and was not intended as a
“comment on the pre-trial discoverability of attorney-client communications.”
09/17/13 Declaration of Gui Hongxia ¶ 3. The distinction is irrelevant for
purposes of the Astra analysis because Chinese courts can and do compel pre-trial
discovery. As Mr. Peerenboom stated in a declaration submitted in an earlier case
involving BOC, courts are critical to the discovery process in China: “If litigants
encounter difficulties in obtaining evidence, they may petition the court to assist in
discovery in accordance with Article 64,” which requires the court to “investigate
and collect evidence which litigants and their representatives cannot collect
because of objective reasons, or evidence which the people’s court deems
necessary for the hearing.” 03/15/09 Declaration of Randall Peerenboom, Ex. G to
09/23/13 Declaration of Marilyn C. Kunstler, Counsel for Plaintiffs (“Kunstler
Decl.”) ¶ 34. “The court may also conduct discovery on its own initiative to obtain
evidence that the court deems necessary for the hearing.” Id. ¶ 39. The Chinese
Civil Procedure Law also provides for “pretrial exchange of evidence” in
accordance with the law. Id. ¶ 40 (citing Article 37 of the Civil Procedure Law).
      74
             Astra, 208 F.R.D. at 102.

                                          21
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be governed by American privilege law under the “touch base” analysis.75

Plaintiffs respond that BOC should be judicially estopped from making this

argument, because it has previously argued that Chinese law should govern the

production of documents located in China.76 Plaintiffs also argue that BOC cannot

show that “all of its documents generated after January 23, 2008” concerned

American litigation.77

             Plaintiffs are incorrect in stating that judicial estoppel bars BOC from

asserting a “touch base” argument. Judicial estoppel “‘prevents a party from

prevailing in one phase of a case on an argument and then relying on a

contradictory argument to prevail in another phase.’”78 “Absent success in a prior

proceeding, a party’s later inconsistent position introduces no ‘risk of inconsistent

court determinations,’ and thus poses little threat to judicial integrity.”79 In this

instance, even if BOC’s current position is contrary to its prior argument that

Chinese law should govern discovery in this case, judicial estoppel is not

      75
             Def. Opp. at 16.
      76
             See Rep. Mem. at 5.
      77
             Id.
      78
             New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (quoting Pegram
v. Herdrich, 530 U.S. 211, 227, n.8 (2000)).
      79
             Id. at 750-51 (quoting United States v. C.I.T. Constr. Inc., 944 F.2d
253, 259 (5th Cir. 1991)).

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appropriate or necessary because BOC did not prevail in its earlier arguments.

Based on the Golden Trade “touch base” analysis, U.S. privilege law applies to all

documents created after January 28, 2008 that do in fact relate to the demand letter

and the subject matter that gave rise to this lawsuit, because those documents

pertain to American law “or the conduct of litigation in the United States.”80

             2.     Documents Governed by Chinese Law

             BOC does not seriously contest the proposition that Chinese law does

not include the attorney-client privilege or work-product doctrine as understood in

American law.81 Both parties agree that Chinese law creates a duty of

confidentiality instead.82


      80
             Astra, 208 F.R.D. at 99.
      81
              At most, BOC states that Chinese courts, as a matter of practice, might
not compel the disclosure of confidences. See Def. Opp. at 14 (“[T]here is no clear
statute giving Chinese courts the authority to order attorneys to divulge
confidential information about their clients . . . . In practice, no Chinese court
would order an attorney to divulge such confidences.”). The statements of Mr.
Peerenboom on this issue are vague, inconclusive, and inconsistent. See, e.g.,
Peerenboom Decl. ¶ 6 (“[It] would be extremely unlikely that a [Chinese] court
would order a lawyer to divulge confidential client information”); id. ¶ 16 (
“[T]here is a debate among academics about . . . whether such provisions would
allow a [Chinese] court to order lawyers to divulge confidential client
information.”).
      82
              See Pl. Mem. at 17-18; Def. Opp. at 14. See also Peerenboom Decl. ¶
11 (“Article 38 of the Lawyers Law provides: ‘A lawyer shall maintain the
confidentiality . . . of the circumstances and information of the client and others
learned while practicing law which they do not wish to be disclosed’ except in

                                         23
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             While violations of the duty of confidentiality may trigger certain

sanctions under Chinese law, including suspension of a legal license and potential

criminal punishment,83 the duty of confidentiality is an ethical obligation and not

an evidentiary protection analogous to the attorney-client privilege or work-

product doctrine.84

             Because Chinese law does not recognize the attorney-client privilege

or the work-product doctrine, BOC must produce those items listed on its privilege

log which are governed by Chinese privilege law. The responsive documents are

those: (1) dated prior to January 28, 2008 and (2) documents dated after January

28, 2008 that do not relate to plaintiffs’ demand letter.

             3.       Documents Governed by United States Law

             Plaintiffs contend that BOC “cannot meet its burden of showing that

its in-house documents would be privileged under U[nited] S[tates] law,” even if


instances of a crime the client is preparing to commit that endangers national
security, public security or safety.”).
      83
             See Peerenboom Decl. ¶ 8.
      84
               See Bristol–Myers Squibb Co. v. Rhone–Poulenc Rorer, Inc., No. 95
Civ. 8833, 1998 WL 158958, at *3 (S.D.N.Y. Apr. 2, 1998) (“[T]he fact that a
statute requires a party to keep clients’ affairs secret does not mean that a privilege
exists. In this country, those with access to trade secrets, bankers, telephone
companies and others are required not to divulge secrets of their clients’ affairs
absent court proceedings. Those laws do not create a privilege equivalent to the
attorney/client privilege.”).

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American law applied.85 Plaintiffs argue that attorney-client privilege requires

communications involving licensed attorneys.86 According to plaintiffs, in-house

counsel in China are “not required to have legal degrees or bar certificates” and

“simply passing the judicial exam . . . does not suffice to constitute a license to

practice law.”87 Plaintiffs claim that because the record does not reflect that the

members of BOC’s Legal and Compliance Department and other departments are

members of the Chinese bar, “their communications with other BOC employees (or

among themselves) are not protected by any type of U.S. attorney-client privilege,

and must be disclosed in their entirety.”88 Plaintiffs also contend that the

documents should not be protected under the work-product doctrine because that

protection can be overcome by a showing of substantial need. Plaintiffs argue that

the Court’s previous rulings, such as its order on April 9, 2013 (“the April 9

Order”), support plaintiffs’ substantial need argument.89

      85
             Pl. Mem. at 23.
      86
             See id.
      87
            Id. at 24 (citing 09/03/13 Declaration of Li Wang, Senior Partner,
Liaoning Shenyang Law Firm, Ex. 18 to Haazen Decl. ¶ 3).
      88
             Id.
      89
              See Pl. Mem. at 25 (“[The Court] expressly rejected BOC’s argument
that Plaintiffs’ need for BOC’s communications with regulators regarding its
AML/CTF practices was insufficient to override the bank examiner’s privilege.”)
(citing Wultz v. Bank of China, No. 11 Civ. 1266, 2013 WL 1453258, at *7-11

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             BOC responds that “the application of a strict rule denying a Chinese

company the protection of the attorney-client privilege makes little sense” because

even though Chinese law does not require in-house counsel to be licensed, their

role is the “functional equivalent” of a lawyer and they are permitted to give legal

advice.90 According to BOC, “a reasonable application of the American law of

privilege” would recognize that BOC’s in-house legal staff, even if unlicensed,

“serves all of the same functions as outside lawyers.”91 BOC also asserts that

plaintiffs have not shown substantial need for overcoming the work-product

protection. Even if the April 9 Order found that plaintiffs’ need for

communications with regulators overcame the bank examiner’s privilege, BOC

argues that the analysis under the work-product doctrine is different. Alternatively,

BOC argues that the documents listed on the June 7 and August 6 privilege logs

over which BOC asserts work-product protection are dated after January 28, 2008

and “significantly differ[] [from] the documents addressed” in the April 9 Order as

those documents pertained to the issue of BOC’s scienter in regard to events in




(S.D.N.Y. Apr. 9, 2013)).
      90
             Def. Opp. at 17-19 (citing Peerenboom Decl. ¶ 26).
      91
             Id. at 20.

                                          26
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2006.92

             Defendant has failed to carry its burden of establishing that the

documents contain “communications (1) between a client and his or her attorney

(2) that are intended to be, and in fact were, kept confidential (3) for the purpose of

obtaining or providing legal assistance, or attorneys’ mental impressions, opinions

or legal theories concerning specific litigation.”93 As I discussed in Gucci America

v. Guess, attorney-client privilege requires a showing “that the person to whom the

communication was made ‘is a member of the bar of a court.’”94 BOC argues that

this rule is too rigid and that attorney-client privilege should be extended to anyone

who serves as the “functional equivalent of a lawyer.”95

             BOC cites two lower court cases from other Circuits in support of its

proposed “functional equivalent” test. In Renfield Corp. v. E. Remy Martin & Co.,

a Delaware trial court held that because the French legal system did not have a

“clear equivalent [to] an American bar, the requirement for the availability of the

attorney-client privilege should be a “functional one of whether the individual is


      92
             Id. at 21.
      93
             Wultz, 2013 WL 1453258, at *12 (quotations omitted).
      94
             Gucci, 2011 WL 9375, at *2 (quoting United Shoe, 89 F. Supp. at
358-59).
      95
             Def. Opp. at 20.

                                          27
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competent to render legal advice and is permitted by law to do so.”96 In

Heidelberg Harris, Inc. v. Mitsubishi Heavy Industries, Ltd., an Illinois trial court

held that the attorney-client privilege applies to communications with German

patent agents who were “engaged in the substantive lawyering process.” 97

             Neither of these cases is persuasive and neither case has been

followed elsewhere.98 In Honeywell, Inc. v. Minolta Camera Co.,99 a New Jersey

trial court explicitly rejected Renfeld as inconsistent with United Shoe, a case often




      96
             98 F.R.D. 442, 444 (D. Del. 1982).
      97
             No. 95 Civ. 0673, 1996 WL 732522, at *10 (N.D. Ill. Dec. 18, 1996).
      98
              Magistrate Judge Michael Dolinger rejected Renfeld in Malletier v.
Dooney & Bourke, Inc., No. 04 Civ. 5316, 2006 WL 3476735, at *17 (S.D.N.Y.
Nov. 30, 2006), holding that there is “no compelling reason for deviating from the
consistent line of authority that holds to the contrary.” The Heidelberg Harris
decision is similarly unpersuasive, given existing American case law which grants
attorney-client privilege to registered patent agents as a specified exception, not
based on a general rule of “functional equivalency.” See Buyer’s Direct, Inc. v.
Belk, Inc., No. 12 Civ. 00370, 2012 WL 1416639, at *3 (C.D. Cal. Apr. 24, 2012)
(“[T]he congressional goal of allowing clients to choose between an attorney and a
patent agent representative in proceedings before the [United States Patent and
Trade Office] would be frustrated if the attorney-client privilege were not available
to communications with registered patent agents. . . . However, the privilege is
limited to communications related to presenting and prosecuting applications
before the USPTO, as this is the extent to which Congress has granted patent
agents the same status as an attorney representative.”).
      99
             See No. 87 Civ. 4847, 1990 WL 66182, at *2-3 (D.N.J. May 15,
1990).

                                          28
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cited in this district and in the Second Circuit.100

              As BOC’s own submissions and numerous declarations make clear,

there are cognizable distinctions between a “lawyer” and an “in-house counsel” in

Chinese law, most critically that it is “not essential” for in-house counsel to be

members of a bar or have “some form of legal credentials.”101 In an analogous

recent opinion from this district, Magistrate Judge Frank Maas found that where

“in-house counsel lawyers in the Netherlands are permitted to be, and frequently

are, unlicensed,” there can be no “reasonable mistake” as to whether an in-house

counsel served as a licensed attorney.102

              The United Shoe principle justifies the protection of the attorney-

client privilege for circumstances where a lawyer – whose authority derives from

her position as a member of the bar – is engaged to provide legal advice. While the

Chinese legal system may be developing, the distinctions between lawyer and in-



      100
              See, e.g., Colton, 306 F.3d at 637; Davis v. City of New York, 10 Civ.
699, 2012 WL 612794, at *10 (S.D.N.Y. Feb. 27, 2012); In re Rivestigmine Patent
Litig., 237 F.R.D. 69, 73 (S.D.N.Y. 2006); Bank Brussels Lambert v. Credit
Lyonnais (Suisse) S.A., 160 F.R.D. 437, 441 (S.D.N.Y. 1995).
      101
           09/18/13 Declaration of Xu Na Ke, Chief of the Compliance
Management Section in the Legal and Compliance Department of the Guangdong
Branch (“Xu Decl.”) ¶ 7. See also Def. Opp. at 17-20; Peerenboom Decl. ¶¶ 25-
33.
      102
              Anwar, 2013 WL 3369084, at *2.

                                            29
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house counsel are clear and presumably exist for a good reason. I see no

compelling reason to depart from the long-standing principle of United Shoe and

create a “functional equivalency” test for the invocation of the attorney-client

privilege when applying United States law. To the extent BOC has claimed

privilege over communications from, to and among members of legal or other

departments who are not licensed attorneys, the attorney-client privilege does not

apply.103

             BOC has also claimed work-product protection over post-January 28,

2008 documents pertaining to BOC’s investigations into the allegations of

plaintiffs’ demand letter. I already held in the April 9 Order that neither the

attorney-client privilege nor work-product protection apply to these documents

because the record indicates that after BOC’s Chief Compliance Officer “received

plaintiffs’ demand letter, he called outside counsel, then set about performing the


      103
             Even if some Chinese in-house counsel do provide legal advice, BOC
does not address whether the same in-house counsel also provides business advice,
as is common for American in-house counsel. Business advice, even when
provided by licensed attorneys, is not protected by the attorney-client privilege.
See, e.g., Georgia-Pacific Corp. v. GAF Roofing Mfg. Corp., No. 93 Civ. 5125,
1996 WL 29392, at *4 (S.D.N.Y. Jan. 25, 1996) (privilege does not attach to in-
house counsel’s advice addressing environmental risks because it is business
advice as opposed to a legal opinion). Even if certain members of BOC’s in-house
legal team were licensed attorneys, it is unclear from the record whether those
members also had duties and rendered business advice that would fall outside the
realm of attorney-client privilege.

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investigation within the Compliance Department – without the involvement of any

counsel, and not for the purpose of obtaining legal assistance.”104 Privilege does

not apply to “an internal corporate investigation . . . made by management

itself.”105

              4.    Sufficiency of Privilege Logs

              Local Civil Rule 26.2(a)(2)(A) requires a privilege log to include the

following information:

              (i) the type of document, e.g., letter or memorandum; (ii) the
              general subject matter of the document, (iii) the date of the
              document; and (iv) the author of the document, the addressees of
              the document, and any other recipients, and, where not apparent,
              the relationship of the author, addressees, and recipients to each
              other.

              While plaintiffs highlight inconsequential minor errors, such as

inconsistencies in spelling, the primary and most substantial basis for plaintiffs’

argument is that BOC “has asserted privilege protection over communications

between various business units . . . without showing any involvement of any

individual lawyer” and that BOC has asserted privilege over communications

involving “entire departments at BOC” without identifying the members of the



       104
              Wultz, 2013 WL 1453258, at *12.
       105
            In re Grand Jury Subpoena, 599 F. 2d 504, 511 (2d Cir. 1979) (citing
United Shoe, 89 F. Supp. at 358).

                                          31
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department, the individual involved in the communication and “whether that

person was an attorney.”106

              BOC responds that the “vast majority of entries in the logs” have

complete descriptions for the required categories and offers to make several

amendments to clarify certain minor issues.107 However, BOC fails to address

plaintiffs’ chief concern, which is that the logs claim privilege over

communications between departments without providing sufficient information to

determine whether the recipients or creators of the documents were attorneys or

were providing legal advice.

              Plaintiffs have now raised this issue on numerous occasions.108 BOC

has consistently failed to address plaintiffs’ request for further detail, stating in a

conclusory fashion that the documents “were prepared or received by the Legal and


      106
              Pl. Mem. at 14-15.
      107
              Def. Opp. at 9-10.
      108
               See, e.g., 05/28/13 Letter from Lee Wolosky, Counsel for Plaintiffs, to
Lanier Saperstein, Counsel for BOC, Ex. C to Kunstler Decl., at 1 (“BOC’s
privilege log lists as . . . privileged many communications and other documents
that appear not to involve BOC’s attorneys, but rather entire BOC departments,
entire BOC branches, and individuals who are not lawyers . . . . Please explain
BOC’s basis for asserting the attorney-client and work product privileges over such
materials.”); 06/25/13 Letter from Haazen, to Saperstein, Ex. 10 to 09/18/13
Declaration of H. Alex Iliff, Counsel for BOC (“Iliff Decl.”), at 2 (“BOC’s log
refers only . . . to the “New York branch,” “the Compliance Department,” . . . or
other departments.”).

                                            32
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Compliance Department, and that they involved requests for or provision of legal

advice.”109 In further support of its claim that “a privilege log need not identify all

of the individuals involved in a given communication to support a claim of

privilege,” BOC misleadingly cites Export-Import Bank of the United States v.

Asia Pulp & Paper Co. for the proposition that “limited logs – including those that

‘provide only the name of a law firm’ – may be adequate.”110 The case, however,

supports the opposite proposition: “Descriptions of the documents are bare-boned.

. . . Some entries are undated, fail to identify the author of the document, provide

only the name of a law firm, or fail to identify recipients of the document. The log

is inadequate.”111

             BOC’s own submissions demonstrate the need for detail regarding

recipients and senders when asserting attorney-client privilege and work-product

protection in logs. In its August 22, 2013 letter to the Court, BOC stated that the

Legal and Compliance Department consisted of twelve employees in 2006, six of




      109
             07/04/13 Letter from Iliff to Haazen, Ex. 11 to Iliff Decl. at 3.
      110
            Def. Opp. at 23 (quoting Export-Import Bank of the United States v.
Asia Pulp & Paper Co., 232 F.R.D. 103, 111 (S.D.N.Y. 2005)).
      111
             Export-Import Bank, 232 F.R.D. at 111.

                                           33
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whom were licensed attorneys.112 As discussed above, this fact has a significant

impact on the privilege determinations and only bolsters plaintiffs’ need for similar

breakdowns for all departments where BOC has claimed a group privilege over

communications.

              The declaration from Xu Na Ke, the Chief of the Compliance

Management Section in the Legal and Compliance Department of the Guangdong

Branch states that the department “routinely provided legal advice” and that it was

the “general practice” of the group “to sign responses to requests for legal advice”

as a unit, but confirms that it was “not essential” to be a member of the Chinese bar

to join the Department.113 In fact, the declaration clarifies that not all

communications from the Legal and Compliance Department, or other business

departments, consisted of legal advice to and from licensed attorneys.114


        112
              See 08/22/13 Letter from Saperstein to the Court, Ex. 8 to Iliff Decl.,
at 1.
        113
              Xu Decl. ¶¶ 4, 6-7.
        114
               Not only does the Xu Declaration concede that members of the
Department were not necessarily licensed attorneys, it also does not categorically
state that the Department only provided legal advice, as opposed to business
advice. Even if every communication from the Department was from a licensed
attorney, further detail is required as to the context of the communications to
ensure that the communication satisfies the other elements of attorney-client
privilege or work-product protection. See, e.g., Nextg Networks of NY, Inc. v. City
of New York, No. 03 Civ. 9672, 2005 WL 857433, at *2 (S.D.N.Y. Apr. 13, 2005)
(“Even where a communication is identified as having involved a lawyer, there is

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             I understand that collecting and reviewing a large volume of

documents maintained in a foreign country for production in the United States is

challenging, and providing adequate data for a privilege log is an unfamiliar task.

However, BOC’s privilege logs are not sufficient to allow either plaintiffs or this

Court to evaluate what, if any, claims of privilege BOC may have. BOC shall have

one final opportunity to amend its privilege logs only as to the documents dated

after January 23, 2008 pertaining to plaintiffs’ demand letter. The amended logs

must provide adequate information about the individual authors and recipients, as

well as a basis for claiming either attorney-client privilege or work-product

protection consistent with this Order. BOC shall submit its amended privilege logs

within ten days. If BOC again fails to submit adequate logs, it will have waived

any claims of privilege over those documents.115




no evidence that it was created for the purpose of providing or obtaining legal
rather than business advice, that it was intended to remain confidential, and that the
privilege has not been waived.”).
      115
             See Aurora Loan Serv., Inc. v. Posner, Posner & Assoc., P.C., 499 F.
Supp. 2d 475, 479 (S.D.N.Y. 2007) (“Failure to furnish an adequate privilege log is
grounds for rejecting a claim of attorney client privilege.”) (citing United States v.
Constr. Prod. Research, Inc., 73 F.3d 464, 473 (2d Cir. 1996)).

                                          35
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v.       CONCLUSION

             For the foregoing reasons, plaintiffs' motion is granted in part. BOC

must complete all ordered production within twenty days from the date of this

Order.




Dated:       October 24, 2013
             New York, New York




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